     Case: 1:15-cv-08478 Document #: 1 Filed: 09/25/15 Page 1 of 13 PageID #:1



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS


DEBRA DEAN,
individually and on behalf of
all those similarly situated,
                                                            Case No.
                           Plaintiff,

             vs.

KATES DETECTIVE & SECURITY SERVICES
AGENCY AND SPECIAL EVENTS SERVICES INC.,

                           Defendant.


                   COLLECTIVE AND CLASS ACTION COMPLAINT


                                   INTRODUCTION

      1.     This is a collective and class action brought by Individual and

Representative Plaintiff Debra Dean on her own behalf and on behalf of the

members of the proposed class identified below. Plaintiff was employed as a security

officer for Kates Detective & Security Services Agency and Special Events Services,

Inc., (“Kates”). Under company policy, Plaintiff and similarly situated employees

are required, as part of their job duties, to pick up Kates security vehicles from the

Kates main office and drive to customer job sites without compensation. Plaintiff

and similarly situated security officers have suffered a wage loss as a result of this

policy. Plaintiff and putative class members are similarly situated under Fed. R.

Civ. P. 23 and the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 216(b), as they

suffered identical wage losses under this policy.
      Case: 1:15-cv-08478 Document #: 1 Filed: 09/25/15 Page 2 of 13 PageID #:2



                            JURISDICTION AND VENUE

       2.    This Court has original jurisdiction to hear this complaint and to

adjudicate the claims stated herein under 28 U.S.C. § 1331, this action being

brought under the Fair Labor Standards Act, 29 U.S.C. § 201, et. seq. The Court has

subject matter jurisdiction over the state law claims pursuant to 28. U.S.C. § 1367.

       3.    Venue is proper in the United States District Court for the Northern

District of Illinois because the events giving rise to these claims occurred in this

district.

                                       PARTIES

       4.    Plaintiff Debra Dean (“Dean”) is an adult resident of Chicago, Illinois.

Dean was employed as a security officer by Kates from November 2014 to August

2015. Dean’s consent form is attached as Exhibit A and incorporated herein.

       5.    Kates Detective & Security Services Agency and Special Events

Services, Inc., is an Illinois domestic corporation located at 7810 S. Claremont Ave.,

Chicago, Illinois.

       6.    Kates’s registered agent for service is Arnold S. Newman, 18400 Maple

Creek Dr., Suite 500, Tinley Park, Illinois.

       7.    Kates is an enterprise engaged in commerce within the meaning of 29

USC § 203(s)(1).

                             FACTUAL ALLEGATIONS

       8.    Throughout the three years preceding the filing of this complaint,

Named Plaintiff and putative class members are or were employed by Defendant as



                                           2
     Case: 1:15-cv-08478 Document #: 1 Filed: 09/25/15 Page 3 of 13 PageID #:3



security officers.

       9.     Throughout the three year period preceding the filing of this

complaint, Named Plaintiff and putative class members were classified by

Defendant as non-exempt from overtime wages.

       10.    Throughout the three year period preceding the filing of this

complaint, Named Plaintiff and putative class members were required to pick up

security vehicles from Kates’s Claremont Avenue, Chicago location and drive those

vehicles to the site where a customer has engaged Kates to provide security. Named

Plaintiff and putative class members are not compensated until they arrive at the

location, and are not compensated for the time at the end of their shift spent

returning the vehicle to the Kates office.

       11.    Named Plaintiff brings this action on behalf of herself and on behalf of

other similarly-situated employees, pursuant to 29 U.S.C. § 216(b). The Collective

Class of similarly-situated employees is defined as:

              All persons who have been or are employed by Kates
              Detective & Security Services Agency and Special Events
              Services, Inc., as a security officer at any time during the
              past three years and who performed uncompensated work,
              including work over forty hours a week, because they were
              required to drive Kates security vehicles between Kates
              and customer locations without compensation.

       12.    Named Plaintiff brings this action on behalf of herself and on behalf of

all other similarly-situated employees, pursuant to Fed. R. Civ. P. 23. The Unpaid

Wage Class is defined as:

              All persons who have been or are employed by Kates
              Detective & Security Services Agency and Special Events

                                             3
     Case: 1:15-cv-08478 Document #: 1 Filed: 09/25/15 Page 4 of 13 PageID #:4



               Services, Inc., as a security officer at any time during the
               past ten years and who were required to drive Kates
               security vehicles between Kates and customer locations
               without compensation.

                                CLASS ALLEGATIONS

      13.      Dean brings the Second Claim for Relief on her own behalf and on

behalf of the Unpaid Wage Class, as defined in paragraph 11, supra, pursuant to

Rule 23(a) and (b) of the Federal Rules of Civil Procedure.

      14.      The persons in the Unpaid Wage Class identified above are so

numerous that joinder of all members is impracticable. Although the precise

number of such persons is unknown, upon information and belief, Kates has

employed more than one hundred people who satisfy the definition of this Class.

      15.      There are questions of law and fact common to the Rule 23 Unpaid

Wage Class that are capable of class-wide resolution and the determination of

which will resolve any issues central to the validity of the class claims, including

but not limited to:

            (a) Whether Kates maintained a common practice and policy
                of unlawfully failing to pay agreed-upon wages to Named
                Plaintiff and members of the putative classes for time
                spent transporting Kates security vehicles to and from
                customer sites;

            (b) Whether Kates maintained a common practice and policy
                of unlawfully failing to pay overtime to Named Plaintiff
                and members of the putative classes for time spent
                transporting Kates security vehicles to and from customer
                sites;


            (c) The nature and amount of compensable work performed by
                Named Plaintiff and members of the putative classes;

                                            4
       Case: 1:15-cv-08478 Document #: 1 Filed: 09/25/15 Page 5 of 13 PageID #:5




              (d) The proper measure of damages sustained by Named
                  Plaintiff and members of the putative classes.

        16.     Dean’s claims are typical of those of the Unpaid Wage Class. Dean,

like other class members, was subjected to Defendant’s illegal pay policy and

practice resulting in a wage loss, including Kates’s policies of refusing to pay

regular and overtime wages for compensable time worked in violation of Illinois

law.

        17.     Named Plaintiff’s claims are typical of those of the Unpaid Wage Class.

Named Plaintiff, like other members of the Unpaid Wage Class, was subjected to

Kates’s illegal pay policy of refusing to pay regular and overtime wages, in violation

of Illinois law.

        18.     Named Plaintiff will fairly and adequately protect the interests of the

Unpaid Wage Class and has retained counsel experienced in complex wage and

hour litigation.

        19.     A class action is superior to other available methods for the fair and

efficient adjudication of the controversy, particularly in the context of wage and

hour litigation where individual plaintiffs lack the financial resources to vigorously

prosecute separate lawsuits in federal court against a large and wealthy corporate

defendant, particularly those with relatively small claims.

        20.     Class certification of the Second Claim for Relief is appropriate under

Fed. R. Civ. P. 23(b)(3), because questions of law and fact common to the Unpaid

Wage Class predominate over any questions affecting only individual members of



                                             5
     Case: 1:15-cv-08478 Document #: 1 Filed: 09/25/15 Page 6 of 13 PageID #:6



the Unpaid Wage Class, and because a class action is superior to other available

methods for the fair and efficient adjudication of this litigation. Defendant’s

common and uniform policies and practices denied the Unpaid Wage Class the

wages for work performed to which they are entitled. The damages suffered by the

individual Unpaid Wage Class members are small compared to the expense and

burden of individual prosecution of this litigation. In addition, class certification is

superior because it will obviate the need for unduly duplicative litigation that might

result in inconsistent judgments about Defendant’s pay practices.

      21.    Named Plaintiff intends to send notice to all members of the Unpaid

Wage Class to the extent required by Fed. R. Civ. P. 23.

                      FIRST CLAIM FOR RELIEF
    FAILURE TO PAY MINIMUM WAGE AND OVERTIME COMPENSATION
                     IN VIOLATION OF THE FLSA

      22.    Named Plaintiff individually and on behalf of the Collective Class

alleges and incorporates by reference the allegations in the preceding paragraphs.

      23.    Named Plaintiff and members of the Collective Class are/were

employees of Kates within the meaning of 29 U.S.C. § 203(e).

      24.    The FLSA requires each covered employer to compensate all non-

exempt employees at a rate not less than the federal minimum wage for all hours

worked.

      25.    During the applicable statute of limitations, Named Plaintiff and

members of the Collective Class performed work for which they received less than the




                                            6
         Case: 1:15-cv-08478 Document #: 1 Filed: 09/25/15 Page 7 of 13 PageID #:7



federal minimum wage, including time spent driving security vehicles to customer

sites.

          26.   The FLSA requires each covered employer to compensate all non-

exempt employees at a rate of not less than one and one-half times their regular

rate of pay for work performed in excess of forty hours per workweek.

          27.   During the applicable statute of limitations, Named Plaintiff and

members of the Collective Class performed work in excess of forty hours per week

without receiving overtime compensation, including time spent driving security

vehicles to and from customer sites.

          28.   These practices violate the FLSA, including, but not limited to, 29 U.S.C.

§§ 206, 207. Because of these violations, Named Plaintiff and members of the

Collective Class have suffered a wage loss.

          29.   Kates knew or showed reckless disregard for the fact that it failed to pay

Named Plaintiff and members of the Collective Class overtime and minimum wage

compensation in violation of the FLSA.

                         SECOND CLAIM FOR RELIEF
                VIOLATION OF THE ILLINOIS MINIMUM WAGE LAW

          30.   Named Plaintiff reasserts and re-alleges the allegations set forth

above.

          31.   At all relevant times herein, Named Plaintiff and the Unpaid Wage

Class have been entitled to the rights, protections, and benefits provided under the

Illinois Minimum Wage Law (“IMWL”), 820 ILCS § 105/1 et seq.

          32.   The IMWL regulates, among other things, the payment of minimum

                                              7
     Case: 1:15-cv-08478 Document #: 1 Filed: 09/25/15 Page 8 of 13 PageID #:8



wages and overtime by employers, subject to limited exemptions not applicable

herein. 820 ILCS § 105/4a.

      33.    During all times relevant to this action, Kates was the “employer” of

Named Plaintiff and the Unpaid Wage Class within the meaning of 820 ILCS §§

105/3(c) and (d).

      34.    During all times relevant to this action, Named Plaintiff and the

Unpaid Wage Class were Kates’s “employees” within the meaning of 820 ILCS §

105/3(d).

      35.    During all times relevant to this action, Named Plaintiff and the

Unpaid Wage Class were non-exempt from Illinois overtime obligations, per 820

ILCS § 105/3(d).

      36.    Pursuant to 820 ILCS § 105/4a(1), employees are entitled to be

compensated for all hours worked and at a rate of not less than one and one-half

times the regular rate at which such employees are employed for all work performed

in excess of forty hours in a workweek.

      37.    During the applicable statute of limitations, Named Plaintiff and

members of the Unpaid Wage Class performed work without receiving regular wages,

and performed work in excess of forty hours per week without receiving overtime

compensation, including time spent driving security vehicles to customer sites.

      38.    These practices violate the IMWL by refusing and failing to pay

Named Plaintiff and members of the Unpaid Wage Class regular and overtime

wages required under the IMWL law, including, but not limited to, 820 ILCS §



                                          8
     Case: 1:15-cv-08478 Document #: 1 Filed: 09/25/15 Page 9 of 13 PageID #:9



105/4(a)(1). In the course of perpetrating these unlawful practices, Kates has also

failed to keep accurate records of the hours worked each day and each workweek by

its employees as required by 820 ILCS § 105/8.

         39.   Named Plaintiff and members of the Unpaid Wage Class were all

subject to this uniform and employer-based compensation policy. On information

and belief, this uniform policy, in violation of the IMWL, has been applied, and

continues to be applied, to all Unpaid Wage Class members.

         40.   Named Plaintiff and the Unpaid Wage Class are entitled to damages

equal to all unpaid regular and overtime wages due within three years preceding

the filing of this complaint per 820 ILCS § 105/12(a).

         41.   Named Plaintiff and the Unpaid Wage Class are entitled to damages

equal to two percent (2%) of the amount of any such underpayments for each month

following the date of payment during which underpayments remain unpaid

pursuant to 820 ILCS § 105/12(a).

         42.   Named Plaintiff and the Unpaid Wage Class are entitled to an award

of pre-judgment and post-judgment interest at the applicable legal rate.

         43.   Kates is liable pursuant to 820 ILCS § 105/12(a) for any costs and

reasonable attorneys’ fees incurred by Named Plaintiff in this action.

                     THIRD CLAIM FOR RELIEF
  VIOLATION OF THE ILLINOIS WAGE PAYMENT AND COLLECTION ACT

         44.   Named Plaintiff reasserts and re-alleges the allegations set forth

above.

         45.   At all relevant times herein, Named Plaintiff and the Unpaid Wage

                                            9
    Case: 1:15-cv-08478 Document #: 1 Filed: 09/25/15 Page 10 of 13 PageID #:10



Class have been entitled to the rights, protections, and benefits provided under the

Illinois Wage Payment and Collection Act (“IWPCA”), 820 ILCS § 115/1 et seq.

         46.   The IWPCA regulates, among other things, the payment of all wage

earned by employers, subject to limited exemptions not applicable herein. 820 ILCS

§ 115/3.

         47.   During all times relevant to this action, Kates was the “employer” of

Named Plaintiff and the Unpaid Wage Class within the meaning of 820 ILCS §

115/2.

         48.   During all times relevant to this action, Named Plaintiff and the

Unpaid Wage Class were Kates’s “employees” within the meaning of 820 ILCS §

115/2.

         49.   Pursuant to 820 ILCS 115/3, employers are required to pay every

employee all wages earned during a semi-monthly pay period.

         50.   During the applicable statute of limitations, Named Plaintiff and

members of the Unpaid Wage Class had an agreement and understanding with

Kates to be paid their agreed upon hourly rate for every hour worked.

         51.   During the applicable statute of limitations, Named Plaintiff and

members of the Unpaid Wage Class performed work, including time spent driving

security vehicles to customer sites, without receiving the agreed-upon hourly pay.

         52.   These practices violate the IWPCA by refusing and failing to pay

Named Plaintiff and members of the Unpaid Wage Class their agreed-upon hourly

rate of pay for all hours worked as required under the IWPCA, including, but not



                                           10
    Case: 1:15-cv-08478 Document #: 1 Filed: 09/25/15 Page 11 of 13 PageID #:11



limited to, 820 ILCS § 115/3.

      53.    Named Plaintiff and members of the Unpaid Wage Class were all

subject to this uniform and employer-based compensation policy. On information

and belief, this uniform policy, in violation of the IWPCA, has been applied, and

continues to be applied, to all Unpaid Wage Class members.

      54.    Named Plaintiff and the Unpaid Wage Class are entitled to damages

equal to all unpaid regular and overtime wages due within ten years preceding the

filing of this complaint per 820 ILCS § 115/14(a).

      55.    Named Plaintiff and the Unpaid Wage Class are entitled to damages

equal to two percent (2%) of the amount of any such underpayments for each month

following the date of payment during which underpayments remain unpaid

pursuant to 820 ILCS § 115/14(a).

      56.    Named Plaintiff and the Unpaid Wage Class are entitled to an award

of pre-judgment and post-judgment interest at the applicable legal rate.

      57.    Kates is liable pursuant to 820 ILCS § 115/14(a)for any costs and

reasonable attorneys’ fees incurred by Named Plaintiff in this action.

                                REQUEST FOR RELIEF

      WHEREFORE, Named Plaintiff, on her behalf and on behalf of all members

of the Collective Class and the Unpaid Wage Class requests the following relief:

      A.     An order designating this action as a collective action on behalf of the

Collective Class and issuance of notices pursuant to 29 U.S.C. § 216(b) to all

similarly situated individuals;



                                          11
   Case: 1:15-cv-08478 Document #: 1 Filed: 09/25/15 Page 12 of 13 PageID #:12



      B.    An order certifying this action as a class action on behalf of the

proposed Unpaid Wage Class pursuant to Fed. R. Civ. P. 23;

      C.    An order designating Debra Dean as Named Plaintiff and as

representative of the Unpaid Wage Class set forth herein;

      D.    Leave to add additional plaintiffs by motion, the filing of written

consent forms, or any other method approved by the Court;

      E.    An order finding that Defendant Kates violated the FLSA;

      F.    An order finding that these violations were willful;

      G.    Judgment against Kates in the amount equal to Named Plaintiff’s and

the Collective Class’s unpaid back regular and overtime wages;

      H.    An award in the amount of all liquidated damages and penalties as

provided under 29 U.S.C. § 216(b) and 820 ILCS § 105/12(a);

      I.    Pre-judgment and post-judgment interest as provided by law;

      J.    An award in the amount of all costs and attorneys’ fees incurred in

prosecuting these claims pursuant to 29 U.S.C. § 216(b); and

      K.    Such further relief as the Court deems just and equitable.

                           DEMAND FOR JURY TRIAL

      Pursuant to Fed. R. Civ. P. 38(b), Named Plaintiff demands a trial by jury.



      Respectfully submitted this 25th day of September, 2015.


                                       Attorneys for the Plaintiff

                                       By: s/Douglas M. Werman

                                         12
Case: 1:15-cv-08478 Document #: 1 Filed: 09/25/15 Page 13 of 13 PageID #:13



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                                    13
